  Case 5:24-cv-05114-TLB Document 9                Filed 07/09/24 Page 1 of 2 PageID #: 48




                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                  FAYETTEVILLE DIVISION


 JACOB STANTON ROMINE                                                                  PLAINTIFF

                v.            Civil No. 5:24-cv-05114-TLB-MEF

 WASHINGTON COUNTY;                                                                DEFENDANTS
 DOE WASHINGTON COUNTY
 PROSECUTORS; and DOE EMPLOYEES
 OF FAYETTEVILLE ANIMAL SERVICES


         REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

       Pursuant to the provisions of 28 U.S.C. §§ 636(b)(1) and (3), the Honorable Timothy L.

Brooks, United States District Judge, referred this case to the undersigned for the purpose of

making a Report and Recommendation. The case is before the Court on Plaintiff’s failure to obey

the Orders of the Court.

                                       I.     DISCUSSION

       Plaintiff, Jacob S. Romine (“Romine”), filed this action pursuant to 42 U.S.C. §1983. He

proceeds pro se and in forma pauperis (“IFP”). When Romine filed his Complaint, he was

confined to the Washington County Detention Center (“WCDC”). (ECF No. 1).

       When he filed this case, Romine was specifically advised that he was required to

immediately inform the Court of any change of address. (ECF No. 3). If he was transferred or

released, Romine was told he must advise the Court of any change in his address by no later than

thirty (30) days from the time of his transfer to another facility or his release. Romine was advised

that “[f]ailure to inform the Court of an address change shall result in the dismissal of this case.”

       When Romine’s IFP motion was granted, he was again advised of his obligation to inform

the Court immediately of any change in his address. (ECF No. 6). Additionally, Rule 5.5(c)(2) of


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  Case 5:24-cv-05114-TLB Document 9               Filed 07/09/24 Page 2 of 2 PageID #: 49




the Local Rules for the Eastern and Western Districts of Arkansas requires pro se parties to

“promptly notify the Clerk and other parties to the proceedings of any change in his or her address,

to monitor the progress of the case, and to prosecute or defend the action diligently.”

       On June 3, 2024, mail was returned to the Court as undeliverable with a notation that he

was no longer incarcerated at the WCDC. (ECF No. 8). Romine had until July 3, 2024, to provide

the Court with his new address. To date, Romine has not provided a new address or contacted the

Court in anyway.

                                     II.     CONCLUSION

       For this reason, it is recommended that this case be DISMISSED WITHOUT

PREJUDICE pursuant to Rule 41(b) of the Federal Rules of Civil Procedure and Rule 5.5(c)(2)

of the Local Rules for the Eastern and Western Districts of Arkansas.

       Status of Referral: The referral terminates upon the filing of this Report and

Recommendation.

         The parties have fourteen (14) days from receipt of the Report and

 Recommendation in which to file written objections pursuant to 28 U.S.C. § 636(b)(1).

 The failure to file timely objections may result in waiver of the right to appeal questions

 of fact. The parties are reminded that objections must be both timely and specific to

 trigger de novo review by the district court.

         DATED this 9th day of July 2024.

                                                     /s/ Mark E. Ford
                                                     HON. MARK E. FORD
                                                     UNITED STATES MAGISTRATE JUDGE




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